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                                           1   SAMUEL R. MAIZEL (SBN 189301)
                                               samuel.maizel@dentons.com
                                           2   TANIA M. MOYRON (SBN 235736)
                                               tania.moyron@dentons.com
                                           3   NICHOLAS A. KOFFROTH (SBN 287854)
                                               nicholas.koffroth@dentons.com
                                           4   DENTONS US LLP
                                               601 South Figueroa Street, Suite 2500
                                           5   Los Angeles, California 90017-5704
                                               Telephone: (213) 623-9300; Facsimile: (213) 623-9924
                                           6
                                               Attorneys for Matthew Pliskin, as Trustee, and
                                           7   The Trust Board

                                           8
                                                                              UNITED STATES BANKRUPTCY COURT
                                           9                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                               (SAN FERNANDO VALLEY DIVISION)
                                          10
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   In re:                                                       Lead Case No.: 1:17-bk-12408-MB
                                                                                                            Jointly administered with:
         DENTONS US LLP




                                          12   ICPW Liquidation Corporation, a California                   1:17-bk-12409-MB Chapter 11 Cases
            (213) 623-9300




                                               corporation,1
                                          13                 Debtor and Debtor in Possession. POST-CONFIRMATION STATUS
                                                                                              REPORT
                                          14
                                               In re:                                          HEARING:
                                          15                                                   DATE:    August 17, 2020
                                               ICPW Liquidation Corporation, a Nevada          TIME:    1:30 p.m.
                                                            2
                                          16   corporation,                                    PLACE:   Courtroom “303”
                                                              Debtor and Debtor in Possession.          21041  Burbank Boulevard
                                          17                                                            Woodland Hills, California 91367

                                          18        Affects:
                                          19          Both Debtors
                                          20         ICPW Liquidation Corporation, a California
                                                     corporation
                                          21
                                                     ICPW Liquidation Corporation, a Nevada
                                          22         corporation
                                          23

                                          24
                                               TO THE HONORABLE MARTIN R. BARASH, UNITED STATES BANKRUPTCY
                                          25
                                               JUDGE:
                                          26

                                          27

                                          28   1
                                                   Formerly known as Ironclad Performance Wear Corporation, a California corporation.
                                               2
                                                   Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.

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                                           1           Matthew Pliskin, the trustee (the “Trustee”), under the trust (the “Trust”) created pursuant

                                           2   to the Debtors and Official Committee of Equity Security Holders Joint Plan of Liquidation Dated

                                           3   February 9, 2018 (the “Plan”) [Docket No. 438], and that certain trust agreement dated as of

                                           4   February 28, 2018 (the “Trust Agreement”), entered into by and among the Trustee, ICPW

                                           5   Liquidation Corporation, a California corporation, formerly known as Ironclad Performance Wear

                                           6   Corporation, a California corporation, and ICPW Liquidation Corporation, a Nevada corporation

                                           7   (“ICPW Nevada”), formerly known as Ironclad Performance Wear Corporation, a Nevada

                                           8   corporation, hereby respectfully submits this Post-Confirmation Status Report, pursuant to Rule

                                           9   3020-1(b) of the Local Bankruptcy Rules of the United States Bankruptcy Court for the Central

                                          10   District of California.
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                                          11           The Plan is a liquidating plan confirmed by entry of an order by this Court on February
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                                          12   13, 2018 (the “Confirmation Order”). [Docket No. 442].
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                                          13           Listing of Claims & Interests and Payments Under the Plan

                                          14      Class          Creditor(s)                     Claim                 Plan Payment to Date
                                                  Class 1        General Unsecured Claims        $354,727.26__         See Below
                                          15      Class 2        Class of Shareholders           See Below             See Below
                                                  Class 3        Secured Claims                  Disputed              Reserve
                                          16      Class 4        Priority Unsecured Claims       Disputed              Reserve
                                          17           Class 1
                                          18           Class 1 consists of general unsecured claims. As indicated in the Plan, prior to the Plan,
                                          19   all non-disputed general unsecured claims were paid by the Debtors with post-petition interest in
                                          20   accordance with prior orders of the Court and the Order Granting Debtors’ Motion For Authority
                                          21   To Pay Undisputed Pre-Petition Claims Of Solvent Estate And Establishing Protocol. [Docket
                                          22   No. 345].
                                          23           On May 29, 2018, the Trustee filed the Notice of Objection and Objection to Claims in
                                          24   Accordance with Debtors and Official Committee of Equity Security Holders Joint Plan of
                                          25   Liquidation Dated February 9, 2018 (the “Objection”). [Docket No. 582]. The Objection
                                          26   provides that (i) the Trustee disputes the validity and amount of the seven claims listed therein
                                          27   (the “Claimants”) and the enforceability of the claims (the “Claims”) against the estates, (ii) the
                                          28   Trustee anticipates that any litigation against the Claimants will be commenced in another forum,

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                                           1   and (iii) requests disallowance of the Claims after an order is obtained in a different forum. The

                                           2   Trustee filed the Objection in accordance with the Plan and to provide the Claimants with notice

                                           3   that the Trustee disputed the Claims and, thus, no distribution has been made on the Claims.

                                           4           Class 2

                                           5           Class 2 consists of the Beneficial Interest Holders (as defined below), who were the equity

                                           6   holders of ICPW Nevada as of the Record Date (i.e., February 12, 2018). Pursuant to the Plan, on

                                           7   February 28, 2018 (the “Effective Date”), the Trust was created and all of the outstanding shares

                                           8   of common stock of ICPW Nevada (the “Common Stock”) existing on the Effective Date were

                                           9   cancelled, and the record holders who owned shares of Common Stock on the Record Date

                                          10   became holders of non-transferable beneficial interests in the Trust in exchange for those shares
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                                          11   (“Beneficial Interest Holders”). [Docket No. 438]. The Trust was created for the exclusive benefit
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                                          12   of Beneficial Interest Holders, net of claims and expenses payable under the express terms of the
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                                          13   Trust. Id.

                                          14           In June 2018, the Trustee sent a letter to Beneficial Interest Holders informing them of an

                                          15   interim distribution to them in the amount of $7,243,994 (representing $0.0835/share based upon

                                          16   86,754,428 total outstanding shares). In August 2019, the Trustee sent another letter to Beneficial

                                          17   Interest Holders informing them of an interim distribution to them in the amount of $1,698,095.

                                          18   Both distributions were made to Beneficial Interest Holders. In January 2020, the Trustee sent

                                          19   another letter to Beneficial Interest Holders informing them of an interim distribution to them in

                                          20   the amount of $1,982,360.

                                          21           Class 3

                                          22           Class 3 consists of the contingent and disputed claim of Radians Wareham Holdings, Inc.

                                          23   (“Radians”). Pursuant to paragraph 26 in the Confirmation Order, on March 12, 2018, the

                                          24   Trustee filed the Motion to Estimate Claim of Radians Wareham Holding, Inc. for Reimbursement

                                          25   of Legal Fees Pursuant to 11 U.S.C. § 502(c) [Docket No. 473] (the “Estimation Motion”) for

                                          26   purposes of establishing the Class 3 Reserve Fund (as defined in the Confirmation Order). At the

                                          27   hearing on the Estimation Motion, the Trustee and Radians agreed the that the Class 3 Reserve

                                          28   Fund should be $2,300,000 (the “Agreed Class 3 Reserve Fund”), which is reflected in Order


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                                           1   Granting In Part Motion To Estimate Claim Of Radians Wareham Holding, Inc. For

                                           2   Reimbursement Of Legal Fees Pursuant To 11 U.S.C. § 502(c). [Docket No. 555].

                                           3           On January 29, 2020, the Trustee filed a stipulation [Adv. Docket No. 74] (the “Radians

                                           4   Stipulation”) that explained the Trust and Radians reached a settlement in their adversary

                                           5   proceeding (the “Radians Settlement”), as discussed below. Pursuant to the Radians Stipulation

                                           6   and Radians Settlement, the parties agreed that the Trustee was no longer obligated to hold the

                                           7   Class 3 Reserve Fund in a segregated trust account and agreed to the release of the Agreed Class

                                           8   3 Reserve Fund in exchange for, among other things, the settlement payment approved by the

                                           9   Radians Settlement. On February 20, 2020, the Court entered an order [Adv. Docket No. 75]

                                          10   approving the Radians Stipulation.
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                                          11           Class 4
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                                          12           Class 4 consists of priority claims, pursuant to 11 U.S.C. §§ 507(a)(3), (4), (5), (6), and
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                                          13   (7). The only non-tax priority claims referenced in the Plan are the two priority wage claims in

                                          14   the amount of $12,850 (the “Cordes and Aisenberg Priority Claims”) filed by Cordes and

                                          15   Aisenberg (the “Former Officers”). Prior to filing the Plan, the Official Committee of Equity

                                          16   Security Holders had filed a complaint against the Former Officers that (i) objected to the claims

                                          17   asserted by the Former Officers in their proofs of claims, and (ii) set forth the claims against the

                                          18   Former Officers seeking damages for pre-petition harm arising from their conduct. [Adv. Proc.

                                          19   No.: 1:18-ap-01011]

                                          20           The Plan classified the disputed claims of the Former Officers as part of Class 4. The Plan

                                          21   provided that total sum of $300,000.00 (the “Class 4 Reserve Fund”) would be retained in a

                                          22   segregated trust account, which would be used to pay the Cordes and Aisenberg Priority Claims

                                          23   to the extent allowed by the Court, plus any indemnification claims of the Former Officers to the

                                          24   extent allowed by the Court and not otherwise satisfied by the Debtors’ D&O Insurance. The

                                          25   Former Officers filed an objection to the Plan, which sought a larger reserve. [Docket No. 425].

                                          26           Pursuant to paragraph 26 in the Confirmation Order, the Trustee filed a motion to estimate

                                          27   the disputed claims of the Former Officers for purposes of establishing the Class 4 Reserve Fund.

                                          28   [Docket No. 474]. After briefing and prior to the hearing, the Trustee and the Former Officers


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                                           1   reached an agreement, which resulted in the Order Approving Stipulation On Motion To Estimate

                                           2   Claims Nos. 7 And 8 Filed By Jeffrey Cordes And William Aisenberg Pursuant To 11 U.S.C. §

                                           3   502(c) [Docket No. 553] establishing a reserve in the amount of $546,313.50 in accordance with

                                           4   the Plan.

                                           5           On August 2, 2019, the Trustee filed the Stipulation of Settlement [Docket No. 615] (the

                                           6   “Stipulation”) that explained the Trust and the Former Officers reached a settlement in their

                                           7   arbitration proceeding (the “Settlement”). Pursuant to the Stipulation and Settlement, the parties

                                           8   agreed that the Trustee was no longer obligated to hold the Class 4 Reserve Fund in a segregated

                                           9   trust account. On August 2, 2019, the Court entered an order approving the Stipulation [Docket

                                          10   No. 616].
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                                          11           Post-Confirmation Taxes
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                                          12           The Trustee paid $141,597.38 in actual and estimated taxes for the tax years 2016 and
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                                          13   2017. The Trustee has been advised that the Trust does not owe taxes for 2018.

                                          14           Projections

                                          15           The Plan provided that it was being funded from various sources (e.g., remaining estate

                                          16   funds from the sale proceeds, funds in the operating account, monetary recoveries to be obtained

                                          17   by the Trust postpetition, etc.) and not cash derived from the operation of any business by the

                                          18   Debtor.

                                          19           As of June 30, 2020, there have been disbursements in the amount of approximately

                                          20   $16,738,566.06. Further, as of June 30, 2020, the Trust had approximately $925,348.96, on hand.

                                          21   The Trustee believes that the Trust is current on his payments to the United States Trustee (the

                                          22   “UST”) for quarterly fees.

                                          23           Plan Consummation and Final Decree

                                          24           While the Trustee has made interim distributions, the Trustee anticipates at least one other

                                          25   distribution. There is also litigation that continues to be pursued against third parties, as set forth

                                          26   below. Given the uncertainty related to the timing of the completion of litigation, the Trustee

                                          27   respectfully submits that it would be premature at this time to predict the timing of a motion for

                                          28   final decree.


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                                           1           Other Pertinent Information Needed To Explain The Progress Toward Completion

                                           2   Of The Confirmed Plan

                                           3           The Plan provides that the Trustee will, among other things, investigate and, if

                                           4   appropriate, pursue all claims and causes of action that belong to the Estates and are assigned to

                                           5   the Trust for the benefit of the Beneficial Interest Holders. [Docket No. 438]. Since the

                                           6   Confirmation Order, the Trustee has analyzed and pursued certain claims and causes of action, as

                                           7   follows:

                                           8                   On April 25, 2018, the Trustee commenced an arbitration proceeding against

                                           9                    Thomas Felton, the former Senior Vice President of Supply Chain (the “Felton

                                          10                    Arbitration”). In connection with the Former Officers, after extensive briefing and
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                                          11                    a mediation that did not result in settlement, on July 31, 2018, the Court entered an
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                                          12                    order granting the Trustee’s motion to compel arbitration against the Former
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                                          13                    Officers. [Adv. Proc. No.: 1:18-ap-01011, Docket No. 52].              The Trustee

                                          14                    commenced an arbitration that was ultimately consolidated with the Felton

                                          15                    Arbitration (the “Consolidated Arbitration”). The Consolidated Arbitration has

                                          16                    now been settled in the amount of $2,400,000.

                                          17                   The Trustee filed a complaint against Robert Goldstein and his company for aiding

                                          18                    and abetting breach of fiduciary duty in the United States District Court for the

                                          19                    Central District of California, 2:18-cv-09491-FMO-AS, which transferred to the

                                          20                    Northern District of Texas. The parties settled the action for a nominal amount.

                                          21                   On April 26, 2019, the Trustee filed an amended complaint (the “Amended

                                          22                    Complaint”) against Radians. On January 14, 2020, the Trustee filed a Notice of

                                          23                    Settlement With and Payment to Radians Wareham Holding, Inc. in the adversary

                                          24                    proceeding [Adv. Docket No. 73] and bankruptcy cases [Bankr. Docket No. 624]

                                          25                    pursuant to the Trust Agreement. No parties objected to the notice and, on January

                                          26                    29, 2020, the Trustee filed a stipulation [Adv. Docket No. 74] to approve the

                                          27                    settlement, which the Court approved [Adv. Docket No. 75] on February 20, 2020.

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                                           1                   The Trustee commenced an arbitration against BDO. Expert depositions will take

                                           2                    place during August 2020 and September 2020.                Although the foregoing

                                           3                    arbitration proceeding was scheduled to go to trial in June 2020, the trial has been

                                           4                    continued to October 12 through 23, 2020, due to COVID-19.

                                           5   Dated: August 3, 2020                       DENTONS US LLP
                                                                                           SAMUEL R. MAIZEL
                                           6
                                                                                           TANIA M. MOYRON
                                           7                                               NICHOLAS A. KOFFROTH

                                           8                                               By: /s/Tania M. Moyron
                                                                                           Tania M. Moyron, Counsel
                                           9                                               to the Trustee and Trust Board
                                          10
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